Case 6:15-cv-01143-MHS-KNM Document1 Filed 12/07/15 Page 1 of 29 PageID#: 1

~, COMPLAINT UNDER 42 USC § 1983, CIVIL RIGHTS ACT - TDCI-ID (Rev. 7/97)

AG _ IN THE UNITED STATES DISTRICT COURT
_ FOR THE EASTERN DISTRICT OF TEXAS
“Tle ¢ DIVISION
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Plaintiff? s Name and ID Number

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Defendant’s Name and Address

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Defendant’s Name and Address
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Defendant’s Name and Address
(DO NOT USE “ET AL”)

 

INSTRUCTIONS - READ CAREFULLY

NOTICE:
Your complaint is subject to dismissal unless it conforms to these instructions and this form.

1. To start an action you must file an original and one copy of your complaint with the court. You should keep a
copy of the complaint for your own records.

2. You complaint must be legibly handwritten, in, or typewritten, You, the plaintiff, must sign and declare under
penalty of perjury that he facts are correct. If you need additional space, DO NOT USE THE REVERSE
SIDE OR BACK SIDE OF ANY PAGE. ATTACH AN ADDITIONAL BLANK PAGE AND WRITE ON
IT.

3. You must file a separate complaint for each claim you have unless the various claims are all related to the same
incident or issue or are all against the same defendant, Rule 18, Federal Rules of Civil Procedure. Make a short
and plain statement of your claim, Rule 8, Federal Rules of Civil Procedure,

4. When these forms are completed, mail the original and one copy to the Clerk of the United States Court fo the
appropriate District of Texas in the Division where one or more named defendants are located, or where the
incident giving rise to your claim for relief occurred. The list labeled as “VENUE LIST” is posted in your unit
law library. Itis a list of the Texas prison units indicating the appropriate Distridt Court, the Divisiona nd an
address list of the Divisional Clerks.

 
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FILING FEE AND IN FORMA PAUPERIS

1.

2.

In order for your complaint to be filed, it must be accompanied by the filing fee of $150.00.

If you do not have the necessary funds to pay the filing fee in full at this time, you may request permission to
proceed in forma pauperis. In this event you must complete the application to proceed in forma pauperis (IFP),
setting forth information to establish your inability to prepay the fees and costs or give security therefor. You
must also include a current six (6) month history of your Inmate Trust Account. You can acquire the application
to proceed IFP and appropriate Inmate Account Certificate from the law library at your prison unit.

28 U.S.C. 1915, as amended by the Prison Litigation Reform Act of 1995 (PLRA) provides, “...ifa prisoner
brings a civil action or files an appeal in forma pauperis, the prisoner shall be required to pay the full amount of a
filing fee.” Thus, the Court is required to assess and, when funds exist, collect, the entire filing fee or an initial
partial filing fee and monthly installments until the entire amount of the filing fee has been paid by the prisoner.

If you submit the application to proceed in forma pauperis, the Court will apply 28 U.S.C. 1915 and, if
appropriate, assess and collect the entire filing fee or an initial partial filing fee, then monthly installments from
your Inmate Account, until the entire $150 filing fee has been paid.

If you intend to seek in forma pauperis status, then do not send your complaint without and Application to
Proceed IFP, and the Certificate of Inmate Trust Account. Complete all the essential paperwork before
submitting it to the Court.

CHANGE OF ADDRESS

It is your responsibility to inform the Court of any change of address and its effective date. Such notice should be

marked “NOTICE TO THE COURT OF CHANGE OF ADDRESS” an shall not include any motions(s) for any
other relief, Failure to file a NOTICE TO THE COURT OF CHANGE OF ADDRESS may result in the dismissal of
your complaint pursuant to Rule41(b), Federal Rules of Civil Procedure.

I

 

 

PREVIOUS LAWSUITS:
A. Have you filed any other lawsuits in state or federal court relating to your imprisonment?
Yes (4. _No
B. If your answer to “A” is “Yes”, describe each lawsuit in the space below. (If there is more than one
lawsuit, describe the additional lawsuit(s) on another piece of paper, giving the same information.)
1. Approximate date of filing lawsuit: VL fA
2. Parties to previous lawsuit:
Plaintiff(s): VMS A
Defendant(s): MVS #

 

3, Court: (If federal, name the district; if state, name the county.) /| / / A
4, Docket Number: { VU 1; A

5. Name of judge to whom case was assigned: Al f A

2.

 
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6. Disposition: (Was the case dismissed, appealed, still pending?):
MPA
7. Approximate date of disposition: MY, A
A, \ i f a A
I. PLACE OF PRESENT CONFINEMENT: ws, Be’ KA
Til. EXHAUSTION OF GRIEVANCE PROCEDURES:

Have you exhausted both steps of the grievance procedure in this institution? uv YES NO
Attach of copy of the Step 2 grievance with the response supplied by the prison system.

Iv. PARTIES TO THE SUIT:

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A. Name and address of Plaintiff: ty 3A =\E be otha s | i eid jury 4
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B. Full name of each defendant, his official position, his s place of employment, and his full malin ine address.

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Defendant #1: Sormiusel | C. nc eitede f oa XY Nea 4 MM achae! Laat
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Defendant #2: Loc CA C. Bey Ge | ih ‘ Nh at unit len  fuchoel lig if
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Briefly describe the acts) or omission(s) of this defendant which you claim harmed On

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Defendant #3: Af { A

 

Briefly describe the act(s) or omission(s) of this defendant which you claim harmed you.

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Defendant #4: f if f 7

 

 
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Briefly describe the act(s) or omission(s) of this defendant which you claim harmed you.

MLA

Defendant #5: / Ur A

 

Briefly describe the act(s) or ee of this defendant which you claim harmed you.

MLA

Vv. STATEMENT OF CLAIM

State here, in a short and plain statement, the facts of your case, that is, what happened, where did it happen,
when did it happen, and who was involved. Describe how each defendant is involved. You need not give any legal
arguments or cite any Cases or statutes. If you intend to allege a number of related claims, number and set forth each
claim in a separate paragraph. Attach extra pages if necessary, but remember that the complaint must be stated briefly
and concisely. IF ne VIOLATE THIS RULE, THE COURT MAY STRIKE YOUR COMPLAINT,

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VU. GENERAL BACKGROUND INFORMATION:

 

A. State, in complete form, all names you have ever used or been known by, including any and all aliases:
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B. List all TDCJ-ID identification numbers you have ever been assigned and all other state or federal prison

or FBI numbers ever assigned to you, if known to you.

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Vii. SANCTIONS:
A. Have you been sanctioned by any court as a result of any lawsuit you have filed? .

YES Vv NO

 

B. If your answer is “YES”, give the following information for every lawsuit in which sanctions were
imposed, (If more than one, use another piece os paper and answer the same questions.)

1. Court that imposed sanctions (if federal, give the district and division): WV, j |

2. Case number: Af f. A

 

 

3. Approximate date sanctions were imposed: AL A
4, Have the sanctions been lifted or otherwise satisfied): YES mm NO
C. Has any court ever warned or notified you that sanctions could be imposed?
y
YES 4 NO
D. If your answer is “YES”, give the following information for every lawsuit in which sanctions were

imposed. (Ifmore than one, use another piece os paper and answer the same questions.)
1, Court that imposed sanctions (if federal, give the district and division): i i/, ‘ ft

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(Signature of Plaintiff)

 

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PLAINTIFF’S DECLARATIONS

1 I declare under penalty of perjury all facts presented in this complaint and attachments thereto are true
and correct.

2. T understand if I am released or transferred, it is my responsibility to keep the Court informed of my
current mailing address and failure to do so may result in the dismissal of this lawsuit.

3. I understand that { must exhaust all available administrative remedies prior to filing this lawsuit.

4, I understand J am prohibited from bringing an in forma pauperis lawsuit if I have brought three or more

civil actions in a Court of the United States while incarcerated or detained in any facility, which lawsuits
were dismissed on the ground they were frivolous, malicious, or failed to state a claim upon which relief
may be granted, unless I am under imminent danger of serious physical injury.

5, I understand even if I am allowed to proceed without prepayment of costs, I am responsible for the entire
$150 filing fee and costs assessed by the Court, which shall be deducted in accordance with the law from
my inmate account by my custodian until the filing fee is paid.

(Day) (Month) (Year)

 

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(Signature of Plaintiff)

WARNING: The Plaintiff is hereby advised any false or deliberately misleading information provided in response
to the following questions will result in the imposition of sanctions. The sanctions the Court may impose include,
but are not limited to, monetary sanctions and/or the dismissal of this action with prejudice
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» Texas Department of Criminal Justice _ OFFICE USE ONLY
Grievance #: AOS Igeiaz

   
 

 

 

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You must try to resolve your problem with a staff member before you submit a formal complaint. The only exception is when
appealing the results of a disciplinary hearin @| ny \;

Who did you talk to (name, title)? PAL Elva Praad > Cot rid Lo LD C £ When?
What was their response? ND ude vee CQ cesvonse

What action was taken? 9 nx me ¢ ANG \ oN Cun oc a ce Ke C

 

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1-127 Front (Revised 11-2010) YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM (OVER)

Appendix F
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Action Requested to resolve your Complaint.

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’ Date: at Le “ | 4

 

 

 

Offender Signature:

 

Grievance Response:

An investigation was conducted into your complaint regarding being denied a resource guide for satanism io purchase
books, Chaplain Arcipreste reports that there is nothing | in policy that the Chaplaincy has to provide offenders this
type of information.

   

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Signature Authority: £ 44
If you are dissatisfied with the Step 1 response, vod may submit a Step 2 (1-128) to the Unit Grievance Investigator within 15 days from the date of the Step 1 Fesponse.,

State the reason for appeal on the Step 2 Form.

Returned because: " *Resubimit this form when the corrections care made.

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Grievable time period has expired.

 

OFFICE USE ONLY

Submission in excess of 1 every 7 days. * CJ
" - Initial Submission UGI Initials:

Originals:not submitted: *
Griévance :

 

Inappropriate/Excessive attachments. * Cee
. : Screening Criteria Used:

No documented attempt at informal resolution, *

Date Reed from Offender:

 

 

 

(1 6. No requested relief is stated. * . , ee Sem |
. ooo. oO . : Lo Co ‘ ‘Date Returned to Offender! :
. Malicious use of vulgar, indecent, or physically threatening language. * - ee
2"! Submission UGI Initials:
. The issue presented is not grievable. : : .
: , Grievance #:
9. Redundant, Refer to grievance #. . ¢ creetiing Criteria Used:

O 10. Ilegible/Incompreliensible. * _ . Date Recd from Offender:
O . Inappropriate. * Date Returned to’ Offender:
UGI Printed Name/Signatare: ~ 3*Submission UGH initials:

Application of the screening eritéria for this grievatice is not expected to adversely _

Affect the offender’ 8 health.

Medical Signature Authority:

 

1-127 Back (Revised 11-2010)

 

. Grievance #:

 

 

Screening Criteria Used:

“I, Date Recd from Offender:

Date Returned to Offender:

 

 

Appendix F
 

Gase 6:15-cv-01143-MHS-KNM Document 1- Filed 12/07/15 Page 16 of RB a08! 905 16

 

OFFICE USE ONLY
Texas Department of Criminal Justice | Grievances: 70! iSlgG

 

 

 

 

 

 

 

 

 

 

 

 

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OFFENDER HO Reed Date: SEP 10 2095
GRIEVANCE FORM O
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Unit: My _— Housing Assignment: _\ L-E-H5 imvestigator ID#: _ [0 US {
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Unit where incident occurred: : Cnarlain’s akkre, Extension Date: be | >|

You must attach the completed Step I Grievance the-f ta... ¢ "signed by the Warden for your Step 2 appeal to be

accepted. You may not appeal to Step 2 with a Step 1 thar has ‘12.2. -eturned unprocessed.

 

Give reason for appeal (Be Specific). 1 am dissatisfied with the response at Step I because...

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Appendix G
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Offender Signature: Gaudl Loahis Date: To —

Grievance Response:

 

 

An investigation of your Step | was conducted and your request and been forwarded to Chaplain Lacy the Region II Chaplain. No
further action is warranted.

 
  

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Signature Authority: f

 

 

 

 

 

 

 

 

 

 

 

 

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[] 5. Malicious use of vulgar, indecent, or physically threatening language.| 2° Submission CGO Initials:
CI 6. Inappropriate.* Date UGI Reed:
Date CGO Recd:
(check one)___ Screened _ Improperly Submitted
Comments:
CGO Staff Signature: Date Returned to Offender:
34 Submission CGO Initials:
Date UGI Recd: _
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Available books: “The Very Basics of Christianity”
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others. To receive materials, you must indicate how long
you will be in your current unit/ail.

DESIRING GOD
2112 Broadway St. NE Suite 150
Minneapolis, MIN 55413

' Available _books: More than 30 books (English an\l

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Step 1 Grievance # Offend) Name TDCJ # Unit

Step 2 X_ | 2015186123 Gatlin, David 1814373 MI
(Check which box applies (Step 1 or Step 2)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Texas Department of Criminal Justice
NOTICE OF EXTENSION
Offender Grievance Office
In accordance with the procedures outlined in BP-03.77, “Offender Grievances,” and AD-03.82,

“Management of Offender Grievances,”, you are hereby notified that additional time is necessary to

complete the investigation of your:
Step 1 Grievance: (check the applicable box)

L_] An additional 30 days is needed for appropriate response to your disciplinary appeal.
[_] An additional 40 days is needed for appropriate response to your grievance.

|_|] An additional 45 days is needed for appropriate response to your medical Step 1 grievance.
Step 2 Grievance: (check the applicable box)

An additional 30 days is needed for appropriate response to your disciplinary appeal.
X An additional 40 days is needed for appropriate response to your regular Step 2 grievance

[_] An additional 45 days is needed for appropriate response to your medical Step 2 grievance.

 

K. Norman _September 28,2015
Region II Grievance Investigator Date

Original — Send to the Offender
Copy ~— Attach to the Grievance

Appendix M
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Statements are printed at the beginning of each month for the previous
month. Those accounts with a zero balance and no transactions

for the month will not have a statement printed. All statements

are sorted by Unit and sent to the Unit Mail Room for distribution. If you are
having a problem receiving your statement, you need to contact either the Unit
Mail Room or Unit Warden.

The monthly banking transactions (statement) are provided at no charge.
There is a charge for any additional copy of a banking history print-out. The cost
is $10.00 for the first year and $5.00 for each additional year (requested at the
same time).

If you would like to purchase a banking history:
1. Make sure you have (and maintain) sufficient funds in your account.

2. Complete an Inmate Request for Withdraw (I-25), payable to “Inmate
Trust Fund” for the total amount equal to the number of years requested.

3. Include an Inmate Request to an Official (I-60) stating the date range of
history you want purchased (“from mm/dd/yyyy to mm/dd/yyyy”).

4. Have the I-25 processed according to proper unit approval procedures.

History Cost:

0-12 Months (1 year) $10.00
0-24 Months (2 years) $15.00
0-36 Months (3 years) $20.00
0-48 Months (4 years) $25.00
0-60 Months (5 years) $30.00
0-72 Months (6 years) $35.00
0-84 Months (7 years) $40.00
0-96 Months (8 years) $45.00
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